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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

BRYAN DAVIS & ETHAN SAM, directly on )
behalf of themselves and all others similarly )
situated,                                     )
                                              )
                     Plaintiffs,              )
                                              )
         v.                                   )
                                              )
FIDELITY MANAGEMENT & RESEARCH )
COMPANY LLC, ABIGAIL P. JOHNSON, )                      CASE NO. 24 CIV. 8142
JENNIFER TOOLIN MCAULIFFE, CHRISTINE )
J. THOMPSON, ELIZABETH S. ACTON, )                      JURY TRIAL DEMANDED
LAURA M. BISHOP, ANN E. DUNWOODY, )
ROBERT GARTLAND, ROBERT W. HELM, )
MICHAEL E. KENNEALLY, MARK A. )
MURRAY, CAROL J. ZIERHOFFER, JOHN )
ENGLER, ARTHUR E. JOHNSON, MARIE L. )
KNOWLES, LAURA M. DEL PRATO, JOHN J. )
BURKE III, CHRISTOPHER M. GOUVEIA, )
AND KENNETH B. ROBINS.                        )
                                              )
                     Defendants.              )

                                CLASS ACTION COMPLAINT

         Plaintiffs Bryan Davis and Ethan Sam, on behalf of themselves and all other similarly

  situated investors (the “Class Shareholders,” as defined below), bring this action as holders of

  shares in the Fidelity Government Money Market Fund (the “Government Fund”) of the Fidelity

  Hereford Street Trust (the “Trust”) against the following Defendants: (i) Fidelity Management &

  Research Company LLC (“Fidelity”), (ii) current and former Trustees of the Government Fund,

  Abigail P. Johnson, Jennifer Toolin McAuliffe, Christine J. Thompson, Elizabeth S. Acton, Laura

  M. Bishop, Ann E. Dunwoody, Robert Gartland, Robert W. Helm, Michael E. Kenneally, Mark

  A. Murray, Carol J. Zierhoffer, John Engler, Arthur E. Johnson, and Marie L. Knowles (the

  “Trustee Defendants”), and (iii) the President of the Government Fund, Laura M. Del Prato, the
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Chief Financial Officer of the Government Fund, John J. Burke III, and the current and former

Chief Compliance Officers of the Government Fund, Christopher M. Gouveia and Kenneth B.

Robins (the “Officer Defendants,” and together with the Trustee Defendants, the “Trustee and

Officer Defendants”). Plaintiffs allege as follows:

                    I.     NATURE AND SUMMARY OF THE ACTION

       1.      The Government Fund is the largest and most popular money market mutual fund

in the Fidelity Investments1 portfolio, with about $351 billion in net assets. The Trustee and Officer

Defendants are the caretakers of the Government Fund and owe fiduciary and contractual duties

to the fund’s shareholders. This case is about how they breached those duties by failing to act in

the best interests of a group of Government Fund shareholders, as required. The Trustee and

Officer Defendants allow certain shareholders of the fund’s “retail” share class (SPAXX) to

needlessly incur higher expenses even when they are eligible for the fund’s lower-expense, but

otherwise identical, “premium” share class (FZCXX). These unnecessary expenses cost these

shareholders millions of dollars each year, reducing their return on investment in the Government

Fund and unjustly enriching Fidelity.

       2.      The Government Fund’s retail class and premium class shares are identical except

for (1) the minimum required to initially invest in the shares and (2) the above-discussed operating

expenses charged to shareholders. Retail class shareholders who meet the investment minimum

for premium class shares, yet are charged the higher expenses of retail class shares, are referred to

as “Class Shareholders.”




1
 “Fidelity Investments” refers collectively to FMR LLC (the sole parent of Fidelity) and all of
FMR LLC’s subsidiaries.


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       3.      The Trustee and Officer Defendants could easily remedy this overcharging through

share class conversion—the commonplace practice of automatically converting an eligible

investor’s shares from one share class to another lower-expense class within the same mutual fund.

Auto-conversion is common in the mutual fund industry. The Trustee and Officer Defendants

themselves provide for auto-conversion in other Fidelity mutual funds for shareholders who meet

the investment minimum for a lower-expense class—but they do not do so for shareholders in the

Government Fund. Outside of Fidelity, comparable mutual funds from Fidelity’s primary

competitors, like Vanguard and T. Rowe Price, similarly provide for auto-conversion of eligible

shareholders to lower-expense share classes.

       4.      As the Trustee and Officer Defendants’ own practices and competitors’ practices

demonstrate, it is well within the power and capabilities of mutual fund trustees and officers to

automatically convert eligible shareholders to a lower-expense class in the same fund or otherwise

charge eligible shareholders the lower expenses for which they qualify—and a reasonably prudent

trustee or officer in their position unquestionably would do so.

       5.      Share class conversion does not harm shareholders, the Government Fund, or the

Trust. It is a non-taxable transaction that only benefits eligible shareholders by reducing the

expenses they pay for an identical investment in the fund. The savings to the Class Shareholders

would be substantial: expenses for the Government Fund’s premium class are typically 24% lower

than expenses for the retail class. The savings to the Class Shareholders realized by share class

conversion would not even come at a cost to the Government Fund or the Trust, but rather to the

fund’s contracted investment manager, Defendant Fidelity, which collects the expenses paid by

shareholders as its management fee. Conversion (or a functional equivalent) is therefore an

obvious and necessary decision for the fund’s Trustees and Officers to implement in order to act




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in the best interests of the Class Shareholders. Instead, the Trustee and Officer Defendants have

continued to allow Fidelity to extract higher expenses from shareholders, whose interests they are

charged with protecting.

       6.      As fiduciaries, the Trustee and Officer Defendants are required to operate the

Government Fund in the best interests of its shareholders. Despite their knowledge, experience,

and capability to provide share class conversion, the Trustee and Officer Defendants have not done

anything to ensure that the Class Shareholders pay the lower expenses to which their holdings

entitle them. Their inaction demonstrates gross neglect or reckless disregard for the best interests

of the Class Shareholders. Either the Trustee and Officer Defendants have been recklessly

uninformed of these massive overcharges that cause significant losses to the Class Shareholders,

or have known about the issue and inexcusably failed to take action to remedy it. Either way, their

conduct was and is outside the bounds of reason. The Trustee Defendants’ inaction also constitutes

a breach of the implied covenant of good faith and fair dealing in the applicable trust agreement

by which the Trustee Defendants are bound.

       7.      One party has profited handsomely from this inaction: the Government Fund’s

investment manager, Defendant Fidelity. The vast majority of expenses charged to Government

Fund shareholders are management fees paid to Fidelity, and upon information and belief, Fidelity

currently collects more in fees annually from the Government Fund than from any other mutual

fund in the Fidelity mutual fund complex. In the past three fiscal years, it has collected

approximately $1.95 billion in fees from the Government Fund. The overcharges to Class

Shareholders improperly increase these fees. Fidelity has knowingly aided and abetted the Trustee

and Officer Defendants’ fiduciary duty breaches and makes unjustified profits from the excess

expenses that should remain in the Class Shareholders’ pockets.




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       8.      Certain Trustee and Officer Defendants have a motivation not to remedy this

inaction: they profit from it. The Chairman of the Government Fund’s Board of Trustees

(Defendant Abigail Johnson), the other “interested” trustees of the Government Fund (Defendants

Jennifer Toolin McAuliffe and Christine Thompson), and the fund’s officers (Defendants Laura

Del Prato, John Burke, Christopher Gouveia, and Kenneth B. Robins) are each stakeholders in

Fidelity—whose gain from overcharged expenses is the Class Shareholders’ loss. Defendant

Johnson, with her family, is the 49% owner of FMR LLC (which wholly owns Fidelity), so she is

directly enriched at the Class Shareholders’ expense. The other interested trustees and the officers

are employed by Fidelity or compensated by Fidelity for their service to the Government Fund.

       9.      The Trustee and Officer Defendants’ dereliction of their fiduciary and contractual

duties, with Fidelity’s assistance, has resulted in enormous losses for the Class Shareholders.

Plaintiffs, on behalf of themselves and the Class Shareholders, seek compensation for the millions

of dollars in damages that Plaintiffs and the Class Shareholders have suffered and continue to

suffer and seek injunctive relief to stop this ongoing harm.

                            II.   JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d). This is a class

action with diversity between at least one class member and one defendant and the aggregate

amount of damages exceeds $5,000,000. Defendant Fidelity is incorporated in Delaware and has

its principal place of business in Massachusetts. The Class consists of shareholders of the

Government Fund who are citizens of states including New York.

       11.     This Court has personal jurisdiction over each Defendant because they transact

business within the state of New York. Among other activities, Defendant Fidelity provides

investment services, maintains investment accounts, and facilitates transactions to and from New

York for customers based in New York, like Plaintiffs. Furthermore, Defendant Fidelity manages


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and oversees the Government Fund’s assets and records, located in New York with the Bank of

New York Mellon, which serves as the fund custodian.

        12.     The Trustee and Officer Defendants likewise transact business in New York as

fiduciaries to Government Fund investors based in New York, including Plaintiffs. The Trustee

and Officer Defendants have authority over the Government Fund and direct the Government

Fund’s activities for the benefit of investors based in New York. The Trustee Defendants also have

caused the Trust to enter into contracts with Defendant Fidelity under which the latter provides

investment management services to Government Fund investors based in New York. The Trustee

Defendants further have caused the Trust to enter into a contractual relationship with the Bank of

New York Mellon, headquartered in New York, which acts as the custodian responsible for the

safekeeping of Government Fund assets. Defendants’ contractual and fiduciary duty breaches

(including Defendant Fidelity’s aiding and abetting the same) have caused injury to persons and

property located within New York.

        13.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to Plaintiffs’ causes of action occurred in this District, including the

overcharging of Plaintiff Davis and other class members based in this District, and because a

substantial part of the property that is the subject of the action is situated in this District.

                                        III.    THE PARTIES

        14.     Plaintiff Bryan Davis is a resident of New York, New York. Plaintiff Davis is an

accountholder of both a Fidelity retirement account and a Fidelity taxable brokerage account. He

holds Retail Class shares of the Government Fund in both of these accounts. During the class

period, Plaintiff Davis’ Government Fund holdings in his retirement account exceeded the

investment minimum ($10,000) qualifying him to pay the lower expenses of Premium Class shares

instead of Retail Class shares of the fund. Likewise, his Government Fund holdings in his


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brokerage account exceeded the investment minimum ($100,000) qualifying him to pay the lower

expenses of Premium Class shares instead of Retail Class shares of the fund. Plaintiff Davis

maintained the requisite holdings in each account for at least several months during the class

period.

          15.   Plaintiff Ethan Sam is a resident of Ridgewood, New York, in the New York City

borough of Queens. Plaintiff Sam is an accountholder of a Fidelity retirement account. He holds

Retail Class shares of the Government Fund through that account. During the class period, Plaintiff

Sam’s Government Fund holdings have exceeded the investment minimum ($10,000) qualifying

him to pay the lower expenses of Premium Class shares instead of Retail Class shares of the fund.

Plaintiff Sam maintained the requisite amount of holdings for at least several years during the class

period.

          16.   Defendant Fidelity Management & Research Company LLC (“Fidelity”) is a

company incorporated under the laws of Delaware and headquartered in Massachusetts. It is a

wholly-owned subsidiary of non-party FMR LLC. Defendant Abigail Johnson, her family

members, and family trusts together own a controlling 49% interest in FMR LLC. Thus, through

their ownership of FMR LLC, they are the owners of Fidelity, solely owned by FMR LLC.

          17.   Defendant Abigail Johnson, a resident of Massachusetts, has served as an interested

Trustee of the Government Fund since 2009. She is an interested Trustee by virtue of her affiliation

with the Trust and entities under common control with Fidelity, in particular, due to her significant

ownership of Fidelity’s sole parent, FMR LLC. Johnson is the Chairman (since 2016), Chief

Executive Officer (since 2014), and Director (since 2007) of FMR LLC. She has also served as

the Chairman and Director of Defendant Fidelity since 2011. Defendant Fidelity compensates

Johnson for her service as an interested Trustee of the Government Fund.




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       18.    Defendant Jennifer Toolin McAuliffe, a resident of Massachusetts, has served as

an interested Trustee of the Government Fund since 2016. McAuliffe is an interested Trustee by

virtue of her affiliation with the Trust and entities under common control with Fidelity. She was

previously employed for over 14 years at Fidelity Investments, including as an executive at the

subsidiary, Fidelity Investments Limited. Defendant Fidelity compensates Defendant McAuliffe

for her service as an interested Trustee of the Government Fund.

       19.    Defendant Christine J. Thompson, a resident of Massachusetts, has served as an

interested Trustee of the Government Fund since 2023. Since 2018, Thompson has been employed

by Fidelity Investments as Leader of Advanced Technologies for Investment Management.

Thompson served as Chief Investment Officer in the bond group at Defendant Fidelity from 2010

to 2018. Defendant Fidelity compensates Defendant Thompson for her service as an interested

Trustee of the Government Fund.

       20.    Defendant Elizabeth S. Acton, a resident of Texas, is an independent Trustee of the

Government Fund and has served in this role since 2013.

       21.    Defendant Laura M. Bishop, a resident of Texas, is an independent Trustee of the

Government Fund and has served in this role since 2023. Bishop was a Member of the Advisory

Board of the Government Fund from 2022 to 2023.

       22.    Defendant Ann E. Dunwoody, a resident of Florida, is an independent Trustee of

the Government Fund and has served in this role since 2018.

       23.    Defendant Robert Gartland, a resident of New York, is an independent Trustee of

the Government Fund and has served in this role since 2010.




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       24.     Defendant Robert W. Helm, a resident of Maryland, is an independent Trustee of

the Government Fund and has served in this role since 2023. Previously, Helm was a Member of

the Advisory Board of the Government Fund from 2021 to 2023.

       25.     Defendant Michael E. Kenneally, a resident of Florida, is an independent Trustee

of the Government Fund and has served in this role since 2009.

       26.     Defendant Mark A. Murray, a resident of Michigan, is an independent Trustee of

the Government Fund and has served in this role since 2016.

       27.     Defendant Carol J. Zierhoffer, a resident of Washington, D.C., is an independent

Trustee of the Government Fund and has served in this role since 2023. Zierhoffer was a Member

of the Advisory Board of the Government Fund in 2023.

       28.     Defendant John Engler, a resident of Ohio, served as an independent Trustee of the

Government Fund from 2014 to 2023.

       29.     Defendant Arthur E. Johnson, a resident of Virginia, served as an independent

Trustee of the Government Fund from 2008 to 2023.

       30.     Defendant Marie L. Knowles, a resident of California, served as an independent

Trustee of the Government Fund from 2008 to 2022.

       31.     Defendant Laura M. Del Prato, a resident of Massachusetts, is an Officer of the

Government Fund and serves as the President and Treasurer. She has been in this role since 2018.

She is an employee of Fidelity Investments.

       32.     Defendant John J. Burke III, a resident of Massachusetts, is an Officer of the Fund

and serves as the Chief Financial Officer. He has been in this role since 2018. He is an employee

of Fidelity Investments.




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       33.     Defendant Christopher M. Gouveia, a resident of New Hampshire, is an Officer of

the Fund and serves as the Chief Compliance Officer. He has been in this role since 2023.

       34.     Defendant Kenneth B. Robins, a resident of Massachusetts, was an Officer of the

Fund and served as the Chief Compliance Officer from 2020 until 2022.

                            IV.    FACTUAL ALLEGATIONS

       A.      The Fidelity Government Money Market Fund.

       35.     Fidelity Investments is a multinational financial services company which, through

its subsidiaries, maintains mutual funds and manages assets. Fidelity Investments is “one of the

world’s largest providers of financial services.”2 It “was established in 1946 to manage one of

America’s first mutual funds.”3 Today, Fidelity Investments is controlled and 49%-owned by

Defendant Abigail Johnson, her family, and related family trusts.

       36.     Fidelity Investments is a self-described “world leader in mutual funds” and an

“industry leader” in the money market mutual fund industry, “managing over $900 billion in total

money market assets” for millions of customers.4 Mutual funds are a type of professionally

managed investment vehicle that pools assets of various investors to invest in a portfolio of target

securities. A money market mutual fund is one subspecies of mutual funds whose investment focus

is low-risk short-term debt securities, like government bonds and Treasury bills, i.e. debt

instruments that become fully due in the near term.

       37.     Fidelity Investments’ money market mutual funds are “a low-risk, short-term

savings alternative that provide easy access to your cash.”5 Fidelity Investments’ flagship, largest



2
  Fidelity Government Money Market Fund Prospectus (June 29, 2024),
https://www.sec.gov/Archives/edgar/data/0000917286/000091728624000074/filing7591.htm
3
  Id.
4
  “Fidelity Mutual Funds,” https://www.fidelity.com/mutual-funds/fidelity-funds/overview
5
  Id.


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money market mutual fund is the Fidelity Government Money Market Fund, with about $351

billion total in investment assets. The Government Fund is popular among retail investors.

       38.     The Government Fund’s objective is to “Seek[] as high a level of current income

as is consistent with preservation of capital and liquidity.”6 At least 99.5% of the Government

Fund’s total assets are typically invested in cash, U.S. Government securities, and/or repurchase

agreements that are fully collateralized. According to the Government Fund’s April 2024 Annual

Report, its current investment breakdown is 34.5% U.S. Treasury Debt, 24.2% U.S. Government

Agency Debt, and 42% U.S. Treasury Repurchase Agreements.7

       39.     The Government Fund is managed to maintain a stable $1.00 share price (net asset

value (NAV) per share) for each share class, which is calculated once daily on business days at the

close of business of the New York Stock Exchange. Transactions to purchase or redeem shares in

the Government Fund are likewise effected once daily on business days once the NAV has been

calculated.

       40.     The Government Fund is structured as a “Series” (i.e., one of the funds under) the

Fidelity Hereford Street Trust. The Trust is organized as a statutory trust under Delaware law and

is an investment company registered under the Investment Company Act of 1940 (“ICA”). The

Trust was initially established pursuant to a trust instrument executed in 1993. The May 15, 2002




6
  Monthly Fact Sheet for Fidelity Government Money Market Fund (SPAXX),
https://fundresearch.fidelity.com/mutual-funds/fundfactpdf/31617H102?appcode=RETAIL; Monthly
Fact Sheet for Fidelity Government Money Market Fund Premium Class (FZCXX),
https://fundresearch.fidelity.com/mutual-funds/fundfactpdf/31617H706?appcode=RETAIL.
7
  Fidelity Government Money Market Fund Annual Report,
https://institutional.fidelity.com/app/literature/annual-report/703529/government-money-
market.html.


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Amended and Restated Trust Instrument, as amended on February 16, 2005 (the “Trust

Agreement”), governs the Trust and funds thereunder, including the Government Fund.8

Trustees of the Government Fund

       41.     The Trust Agreement is governed by Delaware law and executed by the Trust’s

initial trustees. Under the Trust Agreement, the trustees of the Trust hold legal title to and exercise

control over the assets of the Trust on behalf of beneficial interest-holders (i.e., the shareholders)

of the Trust. The shareholders have agreed to be bound by the terms of the Trust Agreement

through purchasing shares of funds formed under the Trust Agreement.

       42.     The Trust Agreement provides that the Trust and each of its Series are governed by

a Board of Trustees. The members of the Trust’s Board of Trustees serve as trustees of each of the

Trust’s various Series or mutual funds.

       43.     The current members of the Government Fund’s Board of Trustees are Defendants

Abigail Johnson, Jennifer McAuliffe, Christine Thompson, Elizabeth Acton, Laura Bishop, Ann

Dunwoody, Robert Gartland, Robert Helm, Michael Kenneally, Mark Murray, and Carol

Zierhoffer. The former Trustees, who have also served as trustees during the class period, are

Defendants John Engler, Arthur Johnson, and Marie Knowles. Since 2019, 12 of the 14 current

and former Trustees have reported beneficial ownership of shares in the Government Fund, as

documented in the fund’s proxy statements.

       44.     The Government Fund’s Trustees – and the Trustee Defendants here – include both

“Interested” and “Independent” trustees. The “Interested Trustees” are those who have




8
 Trust Agreement,
https://www.sec.gov/Archives/edgar/data/917286/000091728602000008/a1.htm.


                                                  12
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“affiliation[s] with the trust or various entities under common control with [Defendant Fidelity].”9

Interested Trustees include trustees who have held equity in Fidelity’s sole owner (FMR LLC) or

have received compensation and other benefits from Fidelity. Because of their financial,

ownership, or employment connections to Fidelity, the Interested Trustees lack independence from

the company.

       45.     The Interested Trustees are Defendants Abigail Johnson, Jennifer McAuliffe, and

Christine Thompson. Johnson has served as Chairman (since 2016), Chief Executive Officer (since

2014), and Director (since 2007) of Fidelity Investments and as Chairman and Director of

Defendant Fidelity since 2011. Until 2018, Defendant Thompson was employed as the Chief

Investment Officer at Fidelity.

       46.     The remaining Trustee Defendants are the current and former Independent

Trustees.10 They have received compensation directly from the Government Fund, rather than from

Defendant Fidelity, during the class period.

       47.     As stated in the Trust’s proxy materials, trustees are elected to the Board to serve

as “fund shareholders’ representatives.”11 The Government Fund’s Trustees are “fiduciaries” of

the Trust, the Government Fund, and its shareholders.12 The Trustees have a fiduciary “obligation

to serve the best interests of shareholders, including consideration of policy changes.”13 The

purpose of the Board of Trustees is to “ensure that shareholders’ best interests are protected in the



9
  June 2024 Prospectus,
https://www.sec.gov/Archives/edgar/data/0000917286/000091728624000074/filing7591.htm.
10
   Independent Trustees are trustees who are not an “interested person” of the Trust as defined in the
ICA.
11
   Proxy Statement (Aug. 21, 2023),
https://www.sec.gov/Archives/edgar/data/917286/000113322823004904/fiaa-
html6681_def14a.htm#tocpro_001.
12
   Id.
13
   Id.


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operation of a mutual fund.”14 “The Board of Trustees has established various committees” to

ensure that “the best interests of the funds and their shareholders” are met.15 These fiduciary

obligations apply to all Trustee Defendants.

       48.     The Officer Defendants likewise owe fiduciary duties to the Trust, the Government

Fund, and its shareholders, as the delegees of the Trustee Defendants. Specifically, the Trust

Agreement provides the Trustees with the “power and authority” to “delegate such authority as

they consider desirable to any officers of the Trust and any investment adviser [or] manager [i.e.,

Defendant Fidelity].”16 Delaware law governing statutory trusts (the Delaware Statutory Trust Act

(“DSTA”)) – to which the Trust Agreement expressly states it is subject – provides that officers,

managers, and other delegees and appointees of the trustees, exercising authority delegated by the

trustees, owe the same duty of care to shareholders as the trustees do.

       49.     Though Delaware law permits a trust to eliminate, or exculpate, trustees’ and

officers’ liability for duty of care breaches in the governing trust documents, the Trust Agreement

does not. It specifically allows for such liability against trustees and officers under the governing

legal standard for a duty of care breach (i.e., gross negligence or reckless disregard): “…nothing

contained herein or in the Delaware [Statutory Trust] Act shall protect any Trustee or any officer

of the Trust against any liability to the Trust or to Shareholders to which he would otherwise be

subject by reason of willful misfeasance, bad faith, gross negligence or reckless disregard of the

duties involved in the conduct of the office of Trustee or Officer hereunder.”17




14
   Proxy Statement (Mar. 20, 2015),
https://www.sec.gov/Archives/edgar/data/917286/000119312515099717/d876979d485bpos.htm.
15
   June 2024 Prospectus,
https://www.sec.gov/Archives/edgar/data/0000917286/000091728624000074/filing7591.htm.
16
   Trust Agreement, https://www.sec.gov/Archives/edgar/data/917286/000091728602000008/a1.htm.
17
   Id.


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       50.     The Trust Agreement sets forth the powers and duties of the Government Fund’s

trustees, including the power to control and manage the business of the Trust. The Trust Agreement

authorizes the Government Fund’s trustees to issue an unlimited number of shares, create a

multiple-class structure, set applicable investment minimums for each class, appoint and contract

with an investment manager for the fund, negotiate and review the investment manager’s fees and

expense caps, and direct and oversee the fund’s investment strategy. Trustee Defendant Abigail

Johnson, as the Chair of the Board of Trustees, “shall be responsible for the execution of policies

established by the Trustees and the administration of the Trust.”18

       51.     Under the Trust Agreement, the “Trustees shall have exclusive and absolute control

over the Trust Property and over the business of the Trust . . . , but with such powers of delegation

as may be permitted by this Trust Instrument,” including to Trust officers and investment

managers.19 Here, the Trustee Defendants have delegated certain management responsibilities for

the Government Fund to the Officer Defendants and Defendant Fidelity.

Officers of the Government Fund

       52.     The Trust’s Bylaws establish the roles of certain officers of the Trust, including the

President, Treasurer, and Chief Financial Officer. The President is selected by the Trustees and

“shall be the sole chief executive officer of the Trust and, subject to the direction of the Trustees,

shall have general administrative responsibilities for the Trust, but shall not have responsibility for

the provision of any investment advisory service or management service that is the subject of a

management agreement between the Trust (or any Series within the Trust) and an adviser or sub-

adviser.”20 The Treasurer “shall make annual reports regarding the business and condition of the


18
   Id.
19
   Id.
20
   Bylaws of Fidelity Delaware Statutory Trusts,
https://www.sec.gov/Archives/edgar/data/28540/000002854009000002/b1.htm.


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Trust . . . and shall furnish such other reports regarding the business and condition of the Trust as

the Trustees may from time to time require.”21 The Chief Financial Officer, “together with the

President, shall be responsible for the design, establishment, maintenance and evaluation of

internal controls,” among other responsibilities.22 In addition, the Trust Agreement and the Trust’s

Bylaws permit the Trustees to establish other officer roles, including the Chief Compliance

Officer.

           53.   Defendant Del Prato, as President and Treasurer of the Trust, is the principal

executive officer of the Trust and owes fiduciary duties to the Government Fund’s shareholders.

She has executed management and expense contracts with Fidelity on behalf of the Government

Fund.

           54.   Defendant Burke, as Chief Financial Officer of the Trust, is an officer of the Trust

and owes fiduciary duties to the Government Fund’s shareholders. Burke assists the Trustees in

overseeing the Government Fund’s financial performance and planning and the accuracy of its

financial reporting.

           55.   Defendant Gouveia, as Chief Compliance Officer of the Trust, and Defendant

Robins, as former Chief Compliance Officer of the Trust during the class period, are officers of

the Trust and owe fiduciary duties to the Government Fund’s shareholders. In their role,

Defendants Gouveia and Robins regularly report to and assist the Trustee Defendants in overseeing

the risks, operations, and financial auditing of the Government Fund.

           56.   The officers of the Trust, including Defendants Del Prato, Burke, Gouveia, and

Robins, are compensated by Defendant Fidelity for their service to the Trust—not by the Trust or

the Government Fund.


21
     Id.
22
     Id.


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Fidelity’s Role as the Government Fund’s Investment Manager

       57.     The Trust Agreement authorizes the Trustees to enter into investment advisory or

management contracts with an investment manager who will provide management and advisory

services to the Government Fund, and to delegate authority to that investment manager.

       58.     The Trustees have delegated investment management and advisory services for the

Government Fund to Defendant Fidelity, pursuant to periodically renewed management contracts,

negotiated and approved by the Trustees and executed by Defendant Del Prato on the fund’s behalf.

The operative management contract, dated January 1, 2020, is referred to as the “Advisory

Contract.”

       59.     As the Government Fund’s June 2024 Prospectus explains, “Under the terms of its

management contract with each fund, [Fidelity] acts as investment adviser and, subject to the

supervision of the Board of Trustees, has overall responsibility for directing the investments of the

fund in accordance with its investment objective, policies and limitations, compensates all officers

of the fund and all Trustees who are interested persons of the trust or of [Fidelity], and compensates

all personnel of the fund or [Fidelity] performing services relating to research, statistical and

investment activities. In addition, [Fidelity], subject to the supervision of the Board of Trustees,

provide[s] the management and administrative services necessary for the operation of each fund.”23

       60.     Fidelity’s responsibilities under the Advisory Contract for the Government Fund

include “providing facilities for maintaining the fund’s organization; supervising relations with

custodians, transfer and pricing agents, accountants, underwriters and other persons dealing with

the fund; preparing all general shareholder communications and conducting shareholder relations;

maintaining the fund’s records and the registration of the fund’s shares under federal securities


23
   June 2024 Prospectus,
https://www.sec.gov/Archives/edgar/data/0000917286/000091728624000074/filing7591.htm.


                                                 17
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laws and making necessary filings under state securities laws; developing management and

shareholder services for the fund; and furnishing reports, evaluations and analyses on a variety of

subjects to the Trustees.”24 Fidelity also performs services related to research, statistical, and

investment activities of the Government Fund. Fidelity is tasked with “investigating the

development of and developing and implementing, if appropriate, management and shareholder

services designed to enhance the value or convenience of the [Government Fund] as an investment

vehicle.”25 Fidelity also participates in the regular review, negotiation, and renewal of the Advisory

Contract with the Trustees, which involves analysis of competitor funds.

         61.   In exchange for its services for the Government Fund, Fidelity is paid a

management fee. The fee is calculated as a percentage of the value of each shareholder’s

investment. The Trust pays this fee to Fidelity monthly, and the fee is included in the expenses

paid by shareholders “each year as a % [percentage] of the value of [their] investment.”26

         62.   During the class period, Fidelity has collected an annual management fee of 0.25%

of the value of all Government Fund shareholders’ investments in the fund. Fidelity currently

collects more in management fees from the Government Fund than from any other mutual fund in

the Fidelity mutual fund complex. For the fiscal years ended April 30, 2024, 2023, and 2022,

Fidelity collected a total of approximately $1.95 billion in management fees from expenses

charged to shareholders in the Government Fund.




24
   Id.
25
   Id.
26
   Id.


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                  Fiscal Years Ended April 30,       Management Fees Paid to
                                                     Fidelity as Investment
                                                     Adviser
                  2024                               $736,101,954

                  2023                               $618,050,470

                  2022                               $594,179,632



          63.   The Trustees have the authority and responsibility to negotiate these expenses,

regularly review the expenses and Fidelity’s performance, and determine whether to renew the

Advisory Contracts with Fidelity and on what fee terms. In considering whether to renew the

Advisory Contracts, the Trustees consider how Fidelity’s competitors approach expenses for

comparable funds, including the “competitiveness relative to peer funds of the fund’s management

fee and the total expense ratio of a representative class (the retail class . . .)” and the “broad range

of investment choices available to shareholders from [Fidelity’s] competitors.”27

The Government Fund’s Retail and Premium Classes

          64.   As authorized by the Trust Agreement, the Trustees have created and maintained a

multi-class structure for the Government Fund and have issued shares for each class within the

Government Fund.

          65.   Two of the classes within the Government Fund are the Retail Class (SPAXX) and

the Premium Class (FZCXX). The vast majority of the Government Fund’s $351 billion in assets

are held in these two classes. As of September 30, 2024, about $323 billion of the Government

Fund’s assets are held in Retail Class shares with another $11.4 billion held in Premium Class

shares.



27
   October 2023 Semi-Annual Report of the Fidelity Government Money Market Fund,
https://www.sec.gov/Archives/edgar/data/917286/000091728623000097/filing7164.htm.


                                                  19
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       66.      The Government Fund’s Retail Class and Premium Class share a common

investment portfolio and investment objective. The shares issued by each class are identical except

for (1) the investment minimum required to initially invest in the class and (2) the expense ratio,

or set percentage of each shareholder’s investment, that Fidelity collects as expenses for holding

the shares. The expenses collected across shareholders are the Government Fund’s annual

operating expenses. The expense ratio therefore reduces each shareholder’s distributions from the

Government Fund and return on investment.

       67.      As shown in the table below, the Retail Class has no investment minimum and

charges shareholders an expense ratio of up to 0.42% of the value of their investment. The

Premium Class has an “minimum initial investment” of $10,000 for retirement accounts and

$100,000 for taxable brokerage accounts and charges shareholders an expense ratio of up to 0.32%

of the value of their investment.28

             Class                    Retail      Premium

             Symbol                   SPAXX       FZCXX
             Investment Minium        None        $10,000 for retirement accounts
                                                  $100,000 for taxable brokerage accounts
             Expense Ratio Cap        0.42%       0.32%



       68.      The majority of expenses collected through the expense ratio cover the management

fees paid to the Government Fund’s investment manager, Defendant Fidelity. During the class

period, Fidelity has collected an annual management fee of 0.25% of the value of all Government

Fund shareholders’ investments in the fund. The amounts collected above 0.25% – up to the




28
   June 2024 Fidelity Government Money Market Fund – Premium Class, Summary Prospectus,
https://www.sec.gov/Archives/edgar/data/917286/000091728624000077/filing7583.htm


                                                   20
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expense ratio caps in the tables above – cover the other operating expenses of the Government

Fund.29

          69.   Pursuant to expense contracts executed by Defendant Del Prato on the Government

Fund’s behalf, Fidelity has contractually agreed to cap the overall expense ratios at 0.42% for the

Retail Class and 0.32% for the Premium Class. At the cap levels, the Premium Class expense ratio

is 24% lower than the Retail Class expense ratio. Fidelity is contractually required to reimburse

any expenses passed on to shareholders that exceed the expense ratio caps.

          70.   Fidelity may also on occasion waive a portion of expenses to reduce shareholders’

expenses below those caps. For example, Fidelity did so for the fiscal year ending April 30, 2022—

when investment returns were so low that charging the full expense cap would have resulted in

negative returns on investment for Premium Class and Retail Class shareholders.

          71.   However, the expense ratio for the Premium Class has always been lower than the

expense ratio for the Retail Class throughout the class period. So, the return on investment for

Premium Class shareholders has always exceeded the return on investment for Retail Class

shareholders throughout the class period. At no point during the class period would a Retail Class

shareholder, who was eligible for the Premium Class, have been better off continuing to hold Retail

Class shares instead of Premium Class shares.

          B.    The Government Fund Has No Mechanism to Convert Qualifying Retail
                Class Holders to the Lower-Expense Premium Class.

          72.   Share class conversion is a common feature of mutual funds with multi-class

structures. Share class conversion refers to the conversion of an investor’s shares from one share

class to another class within the same mutual fund. Such conversions are non-taxable events.



29
 Other operating expenses for the Government Fund include printing and mailing of proxy
materials, prospectuses, and reports to shareholders, as well as interest and taxes.


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Mutual funds that provide for share class conversion frequently do so automatically upon the

occurrence of specified events, such as when a shareholder in a higher-expense class meets the

investment minimum for a lower-expense class, or when a shareholder has held shares in a higher-

expense class for a specified period of time and therefore qualifies for a loyalty-based conversion

to a lower-expense class.

       73.     The Trustees of the Government Fund have not established any mechanism for

converting a shareholder’s Retail Class shares to Premium Class shares (or otherwise ensuring that

the shareholder is charged lower expenses) if that shareholder has a sufficient investment in the

Government Fund to qualify for the Premium Class.

       C.      Defendants Provide Automatic Share Class Conversion for Shareholders of
               Other Fidelity Mutual Funds.

       74.     Defendants are well aware of their authority and capability to provide automatic

share class conversion from higher-expense to lower-expense share classes within the same mutual

fund, as well as the benefits of doing so for qualifying shareholders.

       75.     In addition to serving as trustees of the Trust, the Trustee Defendants are or were

also on the Boards of Trustees for the Fidelity California Municipal Trust II, the Fidelity

Massachusetts Municipal Trust, the Fidelity Court Street Trust II, and the Fidelity New York

Municipal Trust II (together, the “Fidelity Municipal Trusts”). In addition to serving as officers of

the Trust, Defendant Del Prato serves as President and Defendant Burke as Chief Financial Officer

of each of the Fidelity Municipal Trusts. Defendant Fidelity serves as investment manager and

adviser to each of the Fidelity Municipal Trusts.

       76.     Each of the Fidelity Municipal Trusts maintains a single mutual fund. The Fidelity

California Municipal Trust II maintains the Fidelity California Municipal Money Market Fund.

The Fidelity Massachusetts Municipal Trust maintains the Fidelity Massachusetts Municipal



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Money Market Fund. The Fidelity Court Street Trust II maintains the Fidelity New Jersey

Municipal Money Market Fund. The Fidelity New York Municipal Trust II maintains the Fidelity

New York Municipal Market Fund. Together, these mutual funds are referred to as the “Fidelity

Municipal Funds.”

         77.   Like the Government Fund, the Fidelity Municipal Funds each have higher-expense

and lower-expense share classes distinguished by their initial investment minimums. The Fidelity

Municipal Funds automatically convert the higher-expense shares to the lower-expense shares

once a shareholder meets the investment minimum requirement.30 The prospectuses for the Fidelity

Municipal Market Funds each describe these “automatic conversions” of qualifying shareholders

to the lower-expense class as follows: “The fund may conduct periodic reviews of account balances

and may convert your [higher-expense] Premium Class shares to [lower-expense] Institutional

Class shares if you meet the eligibility requirements for the Institutional Class.” The prospectuses

also explain that share class conversion between classes within the same fund is a non-taxable

event.

         78.   Through administering and operating the Fidelity Municipal Funds, Defendants

have experience providing and executing automatic share class conversion for mutual fund

shareholders based on minimum-investment criteria. Defendants cause those funds to implement

and maintain a periodic review-and-conversion process to ensure qualifying shareholders in

higher-expense share classes pay the lower expenses associated with another share class in the

same fund once they become eligible. Accordingly, Defendants have the knowledge, capability,

and infrastructure to execute automatic share class conversions for Class Shareholders.




30
  Here, the higher-expense class at issue has a $25,000 investment minimum while the lower-expense
has a $1 million investment minimum.


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       79.      Other funds within the Fidelity mutual funds complex have employed automatic

share class conversion based on other quantitative criteria. For example, six “Fidelity Disruptor

Funds” within the Fidelity Summer Street Trust employed a multi-class structure with automatic

conversion to lower-expense classes after shareholders held their shares for certain periods of

time.31 The Fidelity Disruptor Funds’ share classes included a “retail” class, a lower-expense

“Loyalty Class 1,” and a lowest-expense “Loyalty Class 2.” Shareholders who held retail shares

in the same Disruptor Fund for one year had their shares automatically converted to Loyalty

Class 1 shares. Shareholders who held their shares for three years had their shares automatically

converted to Loyalty Class 2 shares.

       80.      Defendant Fidelity served as the investment manager of the Fidelity Disruptor

Funds, and Officer Defendants Del Prato and Burke served as officers of the funds. Through their

experience with the Fidelity Disruptor Funds, Defendants Fidelity, Del Prato, and Burke have the

knowledge, capability, and infrastructure to execute automatic share class conversions for Class

Shareholders.

       81.      For the Government Fund itself, Defendants employ automatic conversion for one

specific non-retail share class based on non-quantitative criteria. Non-retail Class K6 shares

(representing only 1% of the Government Fund’s total assets) are only available to certain

employer-sponsored retirement funds. In the event that an investor’s plan is no longer eligible to

offer Class K6 shares, the Government Fund may automatically convert existing Class K6 shares

to another class of shares within the Government Fund.


31
   Those funds are the Fidelity Disruptive Automation Fund, Fidelity Disruptive Communications
Fund, Fidelity Disruptive Finance Fund, Fidelity Disruptive Medicine Fund, Fidelity Disruptive
Technology Fund, and Fidelity Disruptors Fund (collectively, the “Disruptor Funds”). In 2023, the
Disruptor Funds were converted to actively managed exchange-traded funds (“ETFs”). See
https://newsroom.fidelity.com/pressreleases/fidelity-investments--announces-plans-to-convert-six-
thematic-mutual-funds-to-etfs/s/c91da3ef-bd95-44df-a8b0-9e322c8074b2.


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        D.     Competitor Money Market Funds Provide Automatic Share Class
               Conversion for Shareholders.

        82.    Competitor funds outside Fidelity, which the Trustee Defendants consider in

negotiating and approving expense policies for the Government Fund, also provide for automatic

share class conversion to serve the best interests of their shareholders. Mutual funds from

Vanguard and T. Rowe Price, two of Fidelity Investments’ chief competitors, automatically

convert qualifying investors’ shares to lower-expense classes based on minimum-investment

criteria.

        83.    Multiple funds in the Vanguard mutual fund complex have multi-class structures

that include a higher-expense “Investor Shares” (retail) class and a lower-expense “Admiral

Shares” (premium) class. These Vanguard funds monitor account balances, notify qualifying

shareholders of eligibility, and then automatically convert an eligible holder’s shares to the lower-

expense class: 32




32
  “Share classes of Vanguard mutual funds,” https://investor.vanguard.com/investor-resources-
education/mutual-funds/share-classes-of-vanguard-mutual-
funds#:~:text=Benefits%20of%20owning%20Admiral%20SharesTM%20include%3A.


                                                 25
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       84.     Vanguard funds periodically review a shareholder’s holdings to determine

eligibility for the lower-expense Admiral Shares class to effect an automatic conversion of that

shareholder’s shares. Shareholders whose holdings are converted to the Admiral Shares class enjoy

“expense ratios that are, on average, 52% lower than our standard Investor Share class.”33

       85.     T. Rowe Price funds similarly have an automatic conversion process for eligible

shareholders from their retail (“Investor”) to premium (“I Class”) shares. The I Class shares have

expenses that are 20% lower than the Investor Class shares. As the T. Rowe Price website explains,

“except for accounts held by clients outside of the United States, who must call us to convert

shares,” a shareholder’s “shares will automatically be converted to I Class when eligible – no

further action is necessary.”34




33
  Id.
34
  T. Rowe Price, Frequently Asked Questions, https://www.troweprice.com/personal-
investing/about/client-benefits/faqs.html.


                                               26
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       E.      The Government Fund’s Lack of Automatic Conversion Has Contributed to
               an Artificially High Concentration of Shareholder Assets in the Retail Class.

       86.     The Government Fund’s shareholder assets are overwhelmingly concentrated in the

Retail Class rather than the Premium Class—far more so than comparable funds with automatic

conversion of eligible shareholders. As of September 30, 2024, the Retail Class has net assets of

about $323 billion, and the Premium Class has net assets of about $11.4 billion. Between the two

classes, this translates to a ratio of 96.6% of shares held by the Retail Class and only 3.4% of shares

held by the Premium Class.

       87.     In comparable competitor mutual funds that invest in government securities—the

type of funds that the Trustee Defendants review and consider, as the Government Fund’s

Prospectus discloses—lower-expense (premium) classes make up a far greater proportion of the

funds’ assets, even when the investment minimums for those classes are higher than for the

Government Fund’s Premium Class. These competitor funds provide auto-conversion of eligible

shareholders to lower-expense share classes.

       88.     One example is the Vanguard Cash Reserves Federal Money Market Fund

(formerly known as the Vanguard Prime Money Market Fund) (the “Vanguard Federal Fund”). It

holds similar types of underlying securities as the Government Fund and has a multi-class structure

with an “Investor Shares” (retail) class and “Admiral Shares” (premium) class. The Government

Fund and the Vanguard Federal Fund had comparable assets as of 2019:35 $123.6 billion for the

Vanguard Federal Fund and $109.1 billion for the Government Fund. But the Vanguard Federal

Fund had a $3,000 investment minimum for its retail Investor Shares class and a $5 million

investment minimum for its premium Admiral Shares class. The Vanguard Federal Fund’s $5


35
  After August 2019, the minimum investment for the Admiral Shares class of the Vanguard Federal
Fund was lowered to equal the minimum investment of the Investor Shares class, making the fiscal
year ending August 31, 2019 the most apt year for comparison.


                                                  27
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million investment minimum for its premium class was 50- to 500-times higher than the

Government Fund’s Premium Class, depending on account type (taxable or retirement). Despite

the significantly more exclusive premium class in the Vanguard Federal Fund, the proportion of

assets in this fund’s premium class was still more than four times higher than in the Government

Fund’s as of 2019:36

          Fund:                             Fidelity            Vanguard
                                            Government Fund     Federal Fund
          Retail/Investor Class Assets:     96.2%               84.7%
          Premium/Admiral Class Assets:     3.8%                15.3%



       89.     As another example, two of T. Rowe Price’s money market mutual funds hold

similar types of underlying securities as the Government Fund: the T. Rowe Price Government

Money Fund and the T. Rowe Price U.S. Treasury Money Fund. Both T. Rowe Price funds offer

“Investor Class” (retail) shares with a minimum investment of $2,500 for taxable accounts and

$1,000 for retirement accounts, and “I Class” (premium) shares with a default $500,000 minimum

investment (lowered to $50,000 for T. Rowe Price brokerage customers with at least $500,000 in

their brokerage account). The T. Rowe Price funds monitor investor holdings and automatically

convert eligible Investor Class holders to the premium I Class shares quarterly. The latest asset

numbers for 2024 show that the assets of the T. Rowe Price funds are 8- to 14-times as heavily

concentrated in their premium classes than the Government Fund despite higher investment

minimums for the T. Rowe Price funds:37




36
  https://www.sec.gov/Archives/edgar/data/106830/000168386319003149/f2215d1.htm.
37
  https://www.sec.gov/Archives/edgar/data/316968/000114554924063347/xslN-
MFP3_X01/primary_doc.xml;
https://www.sec.gov/Archives/edgar/data/853437/000114554924063353/xslN-
MFP3_X01/primary_doc.xml.


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     Fund:                           Fidelity            T. Rowe Price      T. Rowe Price
                                     Government Fund     Government Fund    U.S. Treasury Fund
     Retail/Investor Class Assets:   96.6%               72.8%              56.8%
     Premium/I Class Assets:         3.4%                27.2%              43.2%



       90.      Plaintiffs and the Class Shareholders belong in the Premium Class by virtue of their

qualifying level of investment holdings in the Government Fund. The Government Fund’s lack of

a mechanism to convert eligible Retail Class shareholders like Plaintiffs and the Class

Shareholders contributes to an artificially high concentration of assets in the Retail Class that is

out of line with comparable funds and has resulted in millions of dollars in overcharged expenses

reducing Plaintiffs’ and the Class Shareholders’ return on investment in the Government Fund.

       F.       Defendants’ Inaction Demonstrates Disregard For The Best Interests of The
                Class Shareholders.

       91.      Despite their experience, knowledge, and authority, Defendants have taken no

action to remedy the overcharging of shareholders of the largest and most popular money market

fund in the Fidelity complex of funds.

       92.      The Trustee Defendants control the Government Fund’s share-class structure and

share class investment minimums, and negotiate the fund’s management and expense contracts

with Fidelity, including Fidelity’s management fee, the expenses allocated to each share class, and

the classes’ expense ratio caps. The Officer Defendants and Defendant Fidelity have been

delegated management, operational, and certain strategic responsibilities for the Government

Fund. The Officer Defendants advise the Trustees on financial and compliance matters, certify

financial and other regulatory disclosures, and assist the Trustees in their review and design of

Government Fund policies and operations. Defendant Fidelity is tasked with, among other

responsibilities, running the day-to-day operations and administration of the Government Fund,




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working with sub-advisers of the Government Fund, maintaining shareholder records, furnishing

reports on fund operations, and monitoring other funds and making policy recommendations to the

Trustees.

       93.     Defendants have access to all material information necessary to identify that the

Class Shareholders have investments that meet the requirements for the Premium Class yet are

being charged the higher expenses of the Retail Class. Defendants have the experience, knowledge,

and technical capability to implement auto-conversion—just as they do for other mutual funds—

to remedy these overcharges.

       94.     Despite all this, Defendants failed to take any action to ensure that Class

Shareholders were properly classified within this structure, implemented and controlled by the

Trustees themselves, so Class Shareholders could receive the lower expenses the Trustees

negotiated for investors with the qualifying investment minimum in the Premium Class. By virtue

of Defendants’ experience and expertise in administering mutual funds, they were best situated to

remedy this situation on a class-wide basis to protect and serve the best interests of Class

Shareholders. Instead of taking reasonably available, commonplace steps to convert the Class

Shareholders’ shares into the available lower-expense shares of the Premium Class, Defendants

did nothing.

       95.     A reasonably prudent fiduciary in the Trustee and Officer Defendants’ position,

armed with their experience, knowledge, and authority, would recognize the overcharging of Class

Shareholders and remedy the situation by implementing a process to convert the shares of eligible

shareholders into the lower-expense, otherwise identical, Premium shares, or would otherwise take

steps to ensure Class Shareholders received the lower expenses for their qualifying investments.




                                               30
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       96.     Defendant Fidelity specifically also has the experience, knowledge, and

responsibility over the operations of the Government Fund and other mutual funds to recognize

the overcharging of Class Shareholders and recommend, implement, and execute a structure or

process to convert eligible shareholders to the Premium Class.

       97.     The Trustee Defendants’ inaction is even more egregious in light of their own

personal investment holdings in the Government Fund. At least 12 of the 14 Trustee Defendants

have themselves beneficially owned shares of the Government Fund. Of those, over half of the 14

trustees have, in the past five fiscal years, had Government Fund holdings in a sufficient amount

to make them eligible for the Premium Class, even under the higher $100,000 minimum

investment for taxable accounts.

       98.     It is unclear whether each Trustee’s holdings were in the Retail Class or Premium

Class—but no matter the case, their inaction in the face of their personal holdings reinforces their

dereliction of their fiduciary duties to shareholders. Given that their holdings qualified them for

the Premium Class, each Trustee Defendant either (1) acquired Premium Class shares, meaning

they executed manual transactions to purchase those shares, or (2) did not acquire Premium Class

shares, and instead held Retail Class shares and needlessly continued paying the higher expenses

of that share class. If the former, that demonstrates their knowledge that similarly situated, eligible

investors like Plaintiffs and the Class Shareholders are overpaying expenses when they remain in

the Retail Class. If the latter, that demonstrates the Trustee Defendants are recklessly uninformed

of their personal entitlement to lower fees, not to mention that of the Class Shareholders.

       99.     Regardless of whether the Trustee and Officer Defendants were recklessly

uninformed of the overcharges to the Class Shareholders, knew and inexplicably failed to act, or




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knew but were motivated financially by personal ties to Fidelity not to act, their inaction was and

is outside the bounds of reason and amounts to a breach of their duties.

       G.         As a Result of Defendants’ Inaction, Class Shareholders Are Needlessly
                  Overcharged Expenses.

       100.       The Class Shareholders have been, and are currently being, needlessly overcharged

expenses for their investment in the Government Fund. All Class Shareholders have held Retail

Class shares during the class period in amounts (at least $10,000 for retirement accounts or

$100,000 for taxable brokerage accounts) that qualify them to hold lower-expense Premium Class

shares instead.

       101.       In a typical year, where the expense ratio is 0.42% for the Retail Class and 0.32%

for the Premium Class respectively, the amount of expenses overcharged to each Class Shareholder

annually is the difference between these two ratios: 0.10%, or 10 basis points, of the Class

Shareholder’s investment in Retail Class shares. The overcharge in turn reduces the income Class

Shareholders earn from their investments and the distribution received—for example, for the fiscal

year ending April 30, 2024, Class Shareholders earned income and received a distribution of 5.05%

of their investment, rather than the 5.15% that they would have received in the Premium Class.

       102.       Each Class Shareholder suffered, and continues to suffer, the same type of harm

resulting from Defendants’ conduct in the form of expense overcharges that reduce their return on

investment. The estimated harm to all Class Shareholders from past and ongoing overcharges is in

the millions of dollars and will increase as the overcharges continue.

       103.       For example, during the class period, Plaintiffs have maintained investment

balances in the Government Fund over the qualifying $10,000 threshold for Premium Class shares,

but held these amounts as Retail Class shares (SPAXX), in their Fidelity retirement accounts.

Plaintiff Davis also had an investment balance in the Government Fund over the qualifying



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$100,000 threshold for Premium Class shares, but held this amount as Retail Class shares, in his

Fidelity taxable brokerage account. Thus, even though Plaintiffs qualified to hold their shares as

Premium Class shares (FZCXX) and pay the lower associated expenses, they were each charged

the higher expense ratios associated with Retail Class shares.

        104.    Retail Class shareholders whose holdings were not substantial enough to qualify

for Premium Class shares were not overcharged and have suffered no harm. The Government Fund

and the Trust likewise have not been harmed by the overcharges, because operating expenses,

including Fidelity’s management fee, are passed through to shareholders, directly paid for by

shareholders, and reduce only these shareholders’ income from their Government Fund

investments. Because the Class Shareholders specifically suffered the harm from these

overcharges, they—and not any other shareholders, the Government Fund, or the Trust—will

directly receive the benefit of any recovery.

        H.      Fidelity Profits from the Overcharges of Class Shareholders.

        105.    Defendants’ inaction has benefited, and continues to benefit, one party in particular

to the detriment of the Class Shareholders: Defendant Fidelity. Fidelity profits by having Plaintiffs

and the Class Shareholders remain in the Retail Class where they are charged the higher expenses

of that share class.

        106.    Because Fidelity is contractually obligated to reimburse expenses to Premium Class

shareholders to bring expenses down to that class’s lower expense ratio cap, Fidelity directly

profits from having the Class Shareholders continue to hold higher-expense Retail Class shares

when they are eligible for lower-expense Premium Class shares.

        107.    As discussed above, pursuant to its expense contracts with the Government Fund,

Fidelity has agreed to cap the overall expense ratios for the Government Fund’s shareholders at

0.42% for the Retail Class and 0.32% for the Premium Class.


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       108.     If total annual operating expenses for a share class exceed the cap, Fidelity must

reimburse the difference to the shareholders of the class so that their expense ratio is lowered to

be equal to the cap. For example, for the fiscal year ending April 30, 2024, actual operating

expenses for the Premium Class amounted to 0.36% of the value of each shareholder’s investment.

To meet the 0.32% expense cap, Fidelity was required to reimburse Premium Class shareholders

$3,781,410 to reduce their expenses. For that same year, actual expenses for the Retail Class

amounted to 0.42% of the value of each shareholder’s investment. Because actual expenses were

equivalent to the Retail Class expense cap, no reimbursements were made to Retail Class

shareholders.

       109.     For the fiscal years ended April 30, 2024, 2023, and 2022, Fidelity made expense

reimbursements to Premium Class shareholders of approximately $7.6 million. Had Plaintiffs’ and

the Class Shareholders’ holdings been converted to Premium Class shares, Fidelity’s contractually

required reimbursements would have been millions of dollars higher, and its profits would have

been millions of dollars lower. Fidelity instead unjustly retained these would-be reimbursements

as profits, and continues to do so.

       110.     Fidelity has directly and unjustly profited, and continues to profit, from Plaintiffs

and the Class Shareholders being overcharged expenses through their Retail Class holdings,

depriving them of the benefit of the lower-expenses of Premium Class shares for which they

qualify.

                                V.    CLASS ALLEGATIONS

       111.     Plaintiffs bring this action individually and on behalf of a class under Rule 23 of

the Federal Rules of Civil Procedure. The class consists of:

       All record and beneficial owners of Retail Class (SPAXX) shares, who (1) have held such

       shares at any time between three years prior to the filing date of this action through the


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       present and (2) whose Retail Class investment was $10,000 or greater (if held in a

       retirement account) or $100,000 or greater (if held in a taxable brokerage account) at any

       point during this period.

The class does not include Defendants, Defendant Fidelity’s officers and directors, members of

Defendants’ immediate families, and the heirs, successors, or assigns of any of the foregoing.

       112.    The harm of overpayment of expenses is personal to each Government Fund

shareholder meeting the criteria discussed above (referred to as the “Class Shareholders”).

       113.    This action is properly maintainable as a class action.

       114.    A class action is superior to other available methods of fair and efficient

adjudication of this controversy.

       115.    The class is so numerous that joinder of all members is impracticable. The number

of class members is believed to be in the tens, if not hundreds, of thousands, and they are likely

scattered across the United States. Moreover, damages suffered by individual class members may

be small, making it overly expensive and burdensome for individual class members to pursue

redress on their own. The identities and addresses of class members can be readily ascertained

from business records maintained by Defendants.

       116.    There are questions of law and fact which are common to all class members and

which predominate over any questions affecting only individuals, including, without limitation:

           a. Whether the Trustee and Officer Defendants’ failure to prevent the Class

               Shareholders from being charged the higher expenses of the Retail Class when

               those shareholders were eligible for the lower-expense Premium Class constitutes

               a breach of these defendants’ fiduciary duty of care;

           b. Whether the Trustee and Officer Defendants’ inaction amounts to gross negligence;




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            c. Whether the Trustee and Officer Defendants were recklessly uninformed of or

                recklessly disregarded the overcharging of the Class Shareholders;

            d. Whether the Trustee Defendants’ conduct breaches the implied covenant of good

                faith and fair dealing in the Trust Agreement;

            e. Fidelity’s role in managing and operating the Government Fund;

            f. Whether Fidelity aided and abetted the Trustee and Officer Defendants’ fiduciary

                duty breaches;

            g. Whether Fidelity was unjustly enriched at class members’ expense;

            h. The proper remedy for these violations;

            i. The existence and extent of any injury to the class or Plaintiffs caused by any

                violations.

        117.    Plaintiffs’ claims and defenses are typical of the claims and defenses of other class

members, and Plaintiffs have no interests antagonistic or adverse to the interests of other class

members. Plaintiffs will fairly and adequately protect the interests of the class.

        118.    Plaintiffs are committed to prosecuting this action and have retained competent

counsel experienced in litigation of this nature.

        119.    Plaintiffs request that the Court afford class members with notice and the right to

opt-out of any class certified in this action.

        120.    Defendants have acted in a manner that affects Plaintiffs and all members of the

class alike, thereby making appropriate any injunctive relief and/or corresponding declaratory

relief with respect to the class as a whole.

        121.    The prosecution of separate actions by individual members of the class would

create a risk of inconsistent or varying adjudications with respect to individual members of the




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class, which would establish incompatible standards of conduct for Defendants. Likewise,

adjudications with respect to individual members of the class would, as a practical matter, be

dispositive of the interest of other members or substantially impair or impede their ability to protect

their interests.

                                        COUNT I
                               BREACH OF FIDUCIARY DUTY
                      AGAINST THE TRUSTEE AND OFFICER DEFENDANTS

         122.      Plaintiffs reallege and incorporate the allegations of the paragraphs above.

         123.      Plaintiffs assert this claim directly on behalf of themselves and the Class

Shareholders.

         124.      Under Delaware law, the trustees and officers of a statutory trust registered as an

investment company under the ICA have the same fiduciary duties as the directors and officers of

a private corporation.

         125.      The Trust is a registered investment company under the ICA and the Trustee and

Officer Defendants owe fiduciary duties of care to Plaintiffs and the Class Shareholders by virtue

of their roles as trustees and officers of the Trust and the Government Fund thereunder.

         126.      As fiduciaries to Plaintiffs and the Class Shareholders, the Trustee and Officer

Defendants are required to act in the best interests of the shareholders. It is not in Plaintiffs’ and

the Class Shareholders’ best interests to be charged the higher expenses of the Retail Class when

they have had holdings in the Government Fund that qualified them for the lower-expense

Premium Class. This result has no benefit to the Class Shareholders, the Government Fund, or the

Trust.

         127.      The Trustee and Officer Defendants breached their fiduciary duties of care because

they failed to act in the best interests of Plaintiffs and the Class Shareholders by allowing them to

continue paying higher expenses as Retail Class shareholders and taking no action to provide for


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auto-conversion of their shares (or the functional equivalent) to the Government Fund’s lower-

expense, otherwise identical Premium Class. Their inaction was and is outside the bounds of

reason because providing auto-conversion to a lower-expense, otherwise identical share class for

qualifying shareholders is commonplace and purely beneficial and non-taxable for those

shareholders.

       128.     The Trustee and Officer Defendants were grossly negligent or recklessly

uninformed of the effects of their inaction on Plaintiffs and the Class Shareholders. The Trustee

and Officer Defendants failed to act as reasonable and prudent trustees and officers would under

the circumstances as evidenced by, among other things, (1) their implementation of auto-

conversion of qualifying investor holdings to lower-expense classes for shareholders of other

Fidelity mutual funds that these defendants administer and (2) the auto-conversion conducted by

comparable mutual funds from Fidelity’s competitors. The Trustee and Officer Defendants are

knowledgeable about, and experienced with, auto-conversion and have the technical and

administrative capabilities to facilitate such conversion, but the Trustee and Officer Defendants

failed to use this reasonably available mechanism to discharge their duties of care owed to

Plaintiffs and the Class Shareholders.

       129.     As a direct and proximate result of the Trustee and Officer Defendants’ breaches,

Plaintiffs and the Class Shareholders were harmed in the form of overpayment of expenses,

sustaining damages that are continuing in nature, in an amount to be determined at trial.

       130.     The Trustee and Officer Defendants are each jointly and severally liable for the

harm to Plaintiffs and the Class Shareholders.




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                             COUNT II
 BREACH OF THE IMPLIED CONVENANT OF GOOD FAITH AND FAIR DEALING
                 AGAINST THE TRUSTEE DEFENDANTS

       131.     Plaintiffs reallege and incorporate the allegations of the paragraphs above.

       132.     Plaintiffs reassert this claim directly on behalf of themselves and the Class

Shareholders.

       133.     The Trustee Defendants are bound by the Trust Agreement.

       134.     Under the Trust Agreement, the Trustee Defendants hold title to the Government

Fund assets in trust for the benefit of the fund’s beneficial owners: the shareholders, including

Plaintiffs and the Class Shareholders.

       135.     The Trust Agreement provides that the Trustee Defendants are liable to

shareholders for misconduct arising to a breach of their fiduciary duties to shareholders.

       136.     The Trust Agreement authorizes the Trustee Defendants to create a multi-class

structure, set expenses for each class of shareholders, and set the qualifications for being in a given

class. The Trust Agreement does not have an express term requiring the Trustee Defendants to

avoid operating the Government Fund in a manner where they or their delegees are collecting

higher expenses from shareholders than required for those shareholders to make the identical

investment in a fund, under the policies set by the Trustee Defendants.

       137.     Such a term is so obvious that it need not be expressly stated, and is implicit in the

Trust Agreement, especially where, as here, the Trustee Defendants are fiduciaries to the

shareholders and must protect their best interests.

       138.     The Trustee Defendants violated this implied covenant by failing to operate the

Government Fund in a way that avoids Plaintiffs and the Class Shareholders being needlessly

overcharged expenses.




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         139.   As a direct and proximate result of the Trustee Defendants’ breach, Plaintiffs and

the Class Shareholders have been harmed in the form of overpayment of expenses, sustaining

damages that are continuing in nature, in an amount to be determined at trial.

         140.   The Trustee Defendants are each jointly and severally liable for the harm to

Plaintiffs and the Class Shareholders.

                                  COUNT III
                AIDING AND ABETTING FIDUCIARY DUTY BREACHES
                         AGAINST DEFENDANT FIDELITY

         141.   Plaintiffs reallege and incorporate the allegations of the paragraphs above.

         142.   Plaintiffs assert this claim directly on behalf of themselves and the Class

Shareholders.

         143.   The Trustee and Officer Defendants owe fiduciary duties to Plaintiffs and the Class

Shareholders under Delaware law.

         144.   The Trustee and Officer Defendants breached those duties for the reasons identified

above.

         145.   Fidelity knowingly aided and abetted those breaches by the Trustee and Officer

Defendants. As the investment manager and adviser to the Government Fund, Fidelity has access

to all the necessary information showing that the Class Shareholders have holdings that meet or

exceed the investment minimums for the Premium Class, yet that these shareholders are needlessly

paying the higher expenses of the Retail Class. Fidelity provides substantial assistance to the

Trustee and Officer Defendants in breaching their fiduciary duties through its management and

operation of the Government Fund, including through its calculation and deduction of expenses

from shareholder accounts. Fidelity is also responsible for advising the Trustee and Officer

Defendants on fund policies and processes. It serves as the investment manager and advisor for




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other funds, overseen by the exact same Trustee and Officer Defendants, that provide auto-

conversion to shareholders based on investment minimum criteria. Fidelity knows that the Trustee

and Officer Defendants fail to provide the same for the Class Shareholders in the Government

Fund. Despite its knowledge and experience with mutual fund operations and policies and with

auto-conversion, Fidelity has taken no action to remedy the situation.

       146.    Because Fidelity is contractually obligated to reimburse expenses to Premium Class

shareholders to bring expenses down to the expense ratio caps, Fidelity directly profits from having

the Class Shareholders continue to hold Retail Class shares even though they are eligible for

Premium Class shares. Fidelity has a financial motivation to aid and abet the Trustee and Officer

Defendants’ breaches of fiduciary duty through their allowing the Class Shareholders to remain in

the Retail Class.

       147.    As a direct and proximate result of the fiduciary breaches aided and abetted by

Fidelity, Plaintiffs and the Class Shareholders have been harmed through their needless

overpayment of expenses, sustaining damages that are continuing in nature, in an amount to be

determined at trial.

       148.    Because it aided and abetted the fiduciary duty breaches by the Trustee and Officer

Defendants, Fidelity is jointly and severally liable alongside the Trustee and Officer Defendants

for the harm arising out of those breaches.

                                 COUNT IV
               UNJUST ENRICHMENT AGAINST DEFENDANT FIDELITY

       149.    Plaintiffs reallege and incorporate the allegations of the paragraphs above.

       150.    Plaintiffs assert this claim directly on behalf of himself and the Class Shareholders.

       151.    Defendant Fidelity was unjustly enriched because it obtained an improper benefit

from Plaintiffs and the Class Shareholders’ overpayment of expenses.



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       152.    Pursuant to its expense contracts with the Government Fund, Fidelity has

contractually agreed to cap the overall expense ratios for the Government Fund’s shareholders at

0.42% for the Retail Class and 0.32% for the Premium Class. If total operating expenses for a

share class exceed the cap, Fidelity must reimburse the difference to the shareholders of the class,

so that their expense ratio is lowered to be equal to the cap. During the class period, Fidelity has

made expense reimbursements to Premium Class shareholders in the millions, but has made no

expense reimbursements to Retail Class shareholders.

       153.    Had Plaintiffs’ and the Class Shareholders’ holdings of Retail Class shares been

properly converted to Premium Class shares, Fidelity’s required reimbursements would have been

millions of dollars higher, and its profits would have been millions of dollars lower. Fidelity

instead unjustly retained these would-be reimbursements as profits, and continues to do so.

       154.    Plaintiffs and the Class Shareholders suffered an impoverishment in the form of

paying higher expenses than were necessary or warranted for the size of the investments they had

made in the Government Fund.

       155.    Fidelity enjoyed an improper enrichment by retaining these millions of dollars in

unwarranted profits from not making expense reimbursements that they otherwise should have to

Plaintiffs and the Class Shareholders, had their Retail Class shares been properly converted to

Premium Class shares.

       156.    Because Fidelity retained profits from overcharged expenses collected from

Plaintiffs and the Class Shareholders, the impoverishment of Plaintiffs and the Class Shareholders

is directly related to and led to the enrichment of Fidelity.

       157.    Fidelity has no justification for having been compensated with additional profits

from the expenses that Plaintiffs and the Class Shareholders needlessly overpaid.




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       158.    Equity and good conscience require restitution and/or disgorgement of the benefits

Fidelity obtained at the expense of Plaintiffs and the Class Shareholders.

                                    PRAYER FOR RELIEF

Wherefore, Plaintiffs pray for judgment as follows:

   A. The Court determines that litigation may be maintained as a class action under Fed. R. Civ.

       P. 23, and that Plaintiffs be named representatives of the Class in which they are members.

   B. Judgment in favor of Plaintiffs and the Class on all claims.

   C. Damages, including punitive damages where applicable, in an amount to be proven at trial.

   D. Restitution, disgorgement, or other equitable relief as this Court deems just and proper, in

       an amount to be proven at trial.

   E. Injunctive relief prohibiting Defendants from continuing to engage in the conduct harming

       Class members alleged herein.

   F. Pre-judgment and post-judgment interest.

   G. Reasonable attorneys’ fees and costs.

   H. Any other relief this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs and the Class

Shareholders hereby demand a trial by jury as to all issues so triable.




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Dated: New York, New York
October 25, 2024


SUSMAN GODFREY L.L.P.

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